              Case 19-13121-KHK                   Doc 1     Filed 09/19/19 Entered 09/19/19 18:20:54                               Desc Main
                                                            Document     Page 1 of 14
Fill in this information to identify your case:

United States Bankruptcy Court for the:

EASTERN DISTRICT OF VIRGINIA

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/19
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Bluepoint Medical Associates, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  14631 Lee Highway, Suite 413
                                  Centreville, VA 20121
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Fairfax                                                         Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




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Debtor    Bluepoint Medical Associates, LLC                                                            Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

                                          Chapter 11. Check all that apply:
                                                                 Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $2,725,625 (amount subject to adjustment on 4/01/22 and every 3 years after that).
                                                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                When                                  Case number
                                                  District                                When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor                                                                    Relationship
                                                  District                                When                              Case number, if known




Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 2
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Debtor   Bluepoint Medical Associates, LLC                                                         Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                        5001-10,000                                 50,001-100,000
                                    50-99
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
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Debtor    Bluepoint Medical Associates, LLC                                                        Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      September 19, 2019
                                                  MM / DD / YYYY


                             X   /s/ LaTaunya Johnson-Weaver                                              LaTaunya Johnson-Weaver
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Managing Member




18. Signature of attorney    X   /s/ John T. Donelan                                                       Date September 19, 2019
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 John T. Donelan 18049
                                 Printed name

                                 Law Office of John T. Donelan
                                 Firm name

                                 125 S. Royal Street
                                 Alexandria, VA 22314-3327
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     703-684-7555                  Email address      donelanlaw@gmail.com

                                 18049 VA
                                 Bar number and State




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 Fill in this information to identify the case:
 Debtor name Bluepoint Medical Associates, LLC
 United States Bankruptcy Court for the: EASTERN DISTRICT OF VIRGINIA                                                                                 Check if this is an

 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Respironics, Inc.                                                                                                                                                      $212,519.00
 3000 Minuteman
 Rd., Bldg 2
 Andover, MA 01810
 SKC Parkway, LLC                                                                                                                                                       $121,922.00
 9210 Park Ave.
 Manassas, VA 20110
 Winston Johnson                                                                                                                                                          $49,900.00
 18412 River Rd
 Hazel Crest, IL
 60429
 Kabbage                                                                                                                                                                  $45,418.00
 925 B Peachtree St.,
 NE
 Suite 1688
 Atlanta, GA 30309
 Joyce Johnson                                                                                                                                                            $40,514.00
 18412 River Road
 Hazel Crest, IL
 60429
 Fisher & Paykel                                                                                                                                                          $34,675.00
 173 Technology Dr.,
 Ste 100
 Irvine, CA 92618
 Rees Broome, PC                                                                                                                                                          $28,000.00
 1900 Gallows Rd.,
 Ste 700
 Vienna, VA 22182
 VGM Group                                                                                                                                                                $27,643.00
 P.O. Box2817
 Waterloo, IA
 50704-2817
 Wisteria LLC                                                                                                                                                             $25,000.00
 P.O. Box 10893
 Rockville, MD
 20849-0893



Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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 Debtor    Bluepoint Medical Associates, LLC                                                                  Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 H2 Property LLC                                                                                                                                                          $21,270.00
 c/o Charles H. Lee
 10939 Haislip Lane
 Lorton, VA 22079
 Capital One                                                     Credit Card                                                                                              $20,121.00
 Glasser & Glasser
 580 East Main St.,
 Ste 600
 Norfolk, VA 23510
 Glass Jacobson                                                                                                                                                           $18,000.00
 Financial Group
 800 King Farm
 Blvd., Suite 500
 Rockville, MD 20850
 Elan Cardmember                                                 Credit Card                                                                                              $17,000.00
 Services
 P.O. Box 790408
 Saint Louis, MO
 63179
 Sunset Healthcare                                                                                                                                                        $15,508.00
 Solutions
 279 Madsen Dr., Ste
 101
 Bloomingdale, IL
 60108
 Guardian Plumbing                                                                                                                                                        $15,000.00
 Services
 16401 Old Central
 Avenue
 Upper Marlboro, MD
 20774
 Elan Cardmember                                                 Credit Card                                                                                              $13,626.00
 Services
 P.O. Box 790408
 Saint Louis, MO
 63179
 3B Medical                                                                                                                                                               $13,163.00
 203 Avenue A, NW
 Suite 300
 Winter Haven, FL
 33881
 Apollo Endosurgery                                                                                                                                                         $9,379.00
 32663 Collection
 Center Dr.
 Chicago, IL
 60693-0326
 Hitachi                                                                                                               $6,297.00                       $0.00                $6,297.00
 Richard Glassman,
 Esquire
 222 S. Ninth St., Ste
 1600
 Minneapolis, MN
 55402

Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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 Debtor    Bluepoint Medical Associates, LLC                                                                  Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 County of Fairfax                                                                                                                                                          $3,177.00
 Dept. of Tax
 Administration
 P.O. Box 10202
 Fairfax, VA
 22035-0202




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3

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                        3B Medical
                        203 Avenue A, NW
                        Suite 300
                        Winter Haven, FL 33881


                        Apacheta
                        53 W. Baltimore Pike, Ste 200
                        Media, PA 19063


                        Apollo Endosurgery
                        32663 Collection Center Dr.
                        Chicago, IL 60693-0326


                        AT&T Mobility
                        P.O. Box 6463
                        Carol Stream, IL 60197-6463


                        Atlantic Union Bank
                        P.O. Box 940
                        Ruther Glen, VA 22546


                        Biohaz Solutions
                        23 Tonoli Road
                        Nesquehoning, PA 18240


                        Bluebridge
                        Marion Dere Muller
                        17 West Jefferson St., Ste 100
                        Rockville, MD 20850


                        Bluebridge/Hitachi
                        Bluebridge Financial LLC
                        535 Washington St., Ste 201
                        Buffalo, NY 14203


                        Brickwall Printing & Graphics
                        14088-D Sullyfield Cir.
                        Chantilly, VA 20151


                        Bryn Mawr Financing
                        620 West Germantown Pike
                        Ste 310
                        Plymouth Meeting, PA 19462
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                    Capital One
                    Glasser & Glasser
                    580 East Main St., Ste 600
                    Norfolk, VA 23510


                    Christina McAlpin Taylor, Esqu
                    Smith Debnam
                    P.O. Box 176010
                    Raleigh, NC 27619


                    CNC Complete Services
                    7327 Old Alexandria Sperry Rd
                    Clinton, MD 20735


                    Comcast
                    Attn: Bankruptcy Dept.
                    One Comcast Center
                    Philadelphia, PA 19103


                    County of Fairfax
                    Dept. of Tax Administration
                    P.O. Box 10202
                    Fairfax, VA 22035-0202


                    Daniel C. Fleming, Esquire
                    300 East 42nd St., 14th Floor
                    New York, NY 10017


                    Daniel C. Fleming, Esquire
                    821 Alexander Rd., Ste 200
                    P.O. Box 3663
                    Princeton, NJ 08543-3663


                    Elan Cardmember Services
                    P.O. Box 790408
                    Saint Louis, MO 63179


                    Financial Pacific Leasing
                    3455 S 344th Way
                    Auburn, WA 98001


                    Fisher & Paykel
                    173 Technology Dr., Ste 100
                    Irvine, CA 92618
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                    Glass Jacobson Financial Group
                    800 King Farm Blvd., Suite 500
                    Rockville, MD 20850


                    Gordon Young, Esquire
                    10045 Red Boulevard, Ste 160
                    Owings Mills, MD 21117


                    Greenberg Law Firm
                    541 Luck Ave., SW, Ste 200
                    Roanoke, VA 24016


                    Guardian Plumbing Services
                    16401 Old Central Avenue
                    Upper Marlboro, MD 20774


                    H2 Property LLC
                    c/o Charles H. Lee
                    10939 Haislip Lane
                    Lorton, VA 22079


                    Hitachi
                    Richard Glassman, Esquire
                    222 S. Ninth St., Ste 1600
                    Minneapolis, MN 55402


                    John O'Brien, III
                    257 E. Lancaster Ave.
                    Wynnewood, PA 19096


                    Joyce Johnson
                    18412 River Road
                    Hazel Crest, IL 60429


                    Kabbage
                    925 B Peachtree St., NE
                    Suite 1688
                    Atlanta, GA 30309


                    Key Finance
                    1000 South McCaslin Blvd
                    Superior, CO 80027-9437
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                    Lauri Darwin
                    P.O. Box 65
                    Glendale, SC 29346


                    Law Office Crystal Moroney, PC
                    17 Squadron Blvd., Ste 303
                    New City, NY 10956


                    Lohrmann & Rim
                    7700 Little River Turnpike
                    Ste 207
                    Annandale, VA 22003


                    Marion Dere Muller
                    17 West Jefferson St., Ste 100
                    Rockville, MD 20850


                    Marshall Todd Kizner, Esq
                    993 Lenox Dr., Bldg 2
                    Lawrence Township, NJ 08648


                    Navitas Credit Corp
                    201 Executive Center Dr.
                    Ste 100
                    Columbia, SC 29210


                    Navitas Credit Corp
                    P.O. Box 935204
                    Atlanta, GA 31193-5204


                    Pawnee Leasing
                    3801 Automation Way, # 207
                    Fort Collins, CO 80525


                    Philips Medical Capital, LLC
                    1111 Old Eagle School Road
                    Wayne, PA 19087


                    Quest Diagnostics
                    P.O. Box 829787
                    Philadelphia, PA 19182-9787


                    Rees Broome, PC
                    1900 Gallows Rd., Ste 700
                    Vienna, VA 22182
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                    Renee Mcguinee LaSource Group
                    P.O. Box 422
                    North East, PA 16428


                    Respironics, Inc.
                    3000 Minuteman Rd., Bldg 2
                    Andover, MA 01810


                    Robert Zelnick, Esquire
                    Zelnick, Vanderpool, Frostick
                    9200 Church St., Ste 400
                    Manassas, VA 20110


                    SESCO Management Consultants
                    P.O. Box 1848
                    Bristol, TN 37621


                    SKC Parkway, LLC
                    9210 Park Ave.
                    Manassas, VA 20110


                    Sunset Healthcare Solutions
                    279 Madsen Dr., Ste 101
                    Bloomingdale, IL 60108


                    Synchrony Bank
                    P.O. Box 960013
                    Orlando, FL 32896-0013


                    Terry Legum, Esquire
                    4004 Williamsburg Ct.
                    Fairfax, VA 22032


                    The Kaplan Group
                    2250 King Court, Ste 50
                    San Luis Obispo, CA 93401


                    Verizon
                    P.O. Box 25505
                    Lehigh Valley, PA 18002-5505


                    VGM Group
                    P.O. Box2817
                    Waterloo, IA 50704-2817
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                    Weinstock & Malley
                    107 W Main St, Suite 5
                    Clinton, NJ 08809-1286


                    Winston Johnson
                    18412 River Rd
                    Hazel Crest, IL 60429


                    Wisteria LLC
                    P.O. Box 10893
                    Rockville, MD 20849-0893


                    Xcel
                    Friedman Framme Thursh
                    10461 Mill Run Cir., Ste 550
                    Owings Mills, MD 21117
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                                                               United States Bankruptcy Court
                                                                      Eastern District of Virginia
 In re      Bluepoint Medical Associates, LLC                                                            Case No.
                                                                                   Debtor(s)             Chapter       11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Bluepoint Medical Associates, LLC in the above captioned action, certifies that the
following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or
more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:
 Bluepoint Holdings, LLC
 14631 Lee Highway, Ste 413
 Centreville, VA 20121




    None [Check if applicable]




 September 19, 2019                                                    /s/ John T. Donelan
 Date                                                                  John T. Donelan 18049
                                                                       Signature of Attorney or Litigant
                                                                       Counsel for Bluepoint Medical Associates, LLC
                                                                       Law Office of John T. Donelan
                                                                       125 S. Royal Street
                                                                       Alexandria, VA 22314-3327
                                                                       703-684-7555 Fax:703-684-0981
                                                                       donelanlaw@gmail.com




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